          2:15-cv-02136-CSB-EIL # 234   Page 1 of 3                                       E-FILED
                                                             Monday, 20 August, 2018 01:49:13 PM
                                                                     Clerk, U.S. District Court, ILCD

                    IN THE UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF ILLINOIS
                              URBANA DIVISION

HYE-YOUNG PARK, a/k/a LISA PARK,               )
                                               )
                     Plaintiff,                )
                                               )
vs.                                            )      Case No. 15-cv-2136
                                               )
MICHAEL T. HUDSON, individually,               )
HEIDI JOHNSON, individually,                   )
CHARLES SECOLSKY, individually,                )
ROBERT STAKE, individually,                    )
and THE BOARD OF TRUSTEES OF                   )
THE UNIVERSITY OF ILLINOIS,                    )
                                               )
                     Defendants.               )



                         DEFENDANT ROBERT STAKE’S
                          SECOND MOTION IN LIMINE

      NOW COMES defendant, ROBERT STAKE, by and through his attorneys,

Thomas, Mamer & Haughey, LLP, and for his SECOND MOTION IN LIMINE,

states:

      Plaintiff has submitted a proposed Statement of the Case which makes

reference to a claim that the plaintiff “alleges that one of the defendants, Robert

Stake, kissed her on the lips and forced his tongue into her mouth.” Plaintiff’s

complaint does not make any such allegation. Plaintiff’s deposition, in responding

to questions about the alleged kiss, merely states that she was kissed on the lips.

No reference to an attempt to force his tongue into her mouth is stated by plaintiff.




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      This claim is new, undisclosed, and has not been the subject of pretrial

discovery. This claim, in the context of this case, is prejudicial and, if allowed,

would deprive defendant, Stake, of a fair trial.

      Defendant requests the Court to bar plaintiff, plaintiff’s witnesses and co-

defendant from any mention, argument, or claim, before the jury, of this new

allegation.

                                                Respectfully submitted,


                                                Robert Stake, Defendant

                                         By:    s/ William J. Brinkmann
                                                William J. Brinkmann
                                                Kenneth D. Reifsteck
                                                Nathan T. Kolb
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                          CERTIFICATE OF SERVICE

      I hereby certify that on August 20, 2018, I electronically filed the foregoing
instrument with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to all registered parties. On the same day, a true and
correct copy of the foregoing instrument was placed in the United States Mail, first-
class postage properly prepaid, and addressed to:
                   Charles Secolsky
                   126 Rolling Meadows Road
                   Middletown, NY 10940



                                       /s/ William J. Brinkmann
                                       William J. Brinkmann
                                       Attorney for Defendant Robert Stake
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